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15                                UNITED STATES DISTRICT COURT

16              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

17                                               )    CASE NO.: 4:22-cv-5240-HSG
                                                 )
18                                               )    DECLARATION OF JASJIT
                                                 )    AHLUWALIA IN SUPPORT OF
19   IN RE TESLA ADVANCED DRIVER                 )    DEFENDANTS TESLA, INC., TESLA
     ASSISTANCE SYSTEMS LITIGATION               )    LEASE TRUST, AND TESLA FINANCE
20                                               )    LL’S MOTION TO COMPEL AND STAY
                                                 )    PENDING ARBITRATION
21                                               )
                                                 )
22                                               )
                                                 )    Hon. Haywood S. Gilliam, Jr.
23                                               )    Date: March 23, 2023
                                                 )    Time: 2:00 p.m.
24                                               )    Courtroom 2 – 4th floor
                                                 )
25                                               )    Amended Consolidated Complaint Filed:
                                                 )    October 28, 2022
26                                               )
                                                 )
27                                               )
                                                 )
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 1   I, Jasjit Ahluwalia, declare as follows:

 2          1.      I am a Software Engineering Manager at Tesla, Inc. (“Tesla”), where I have been

 3   employed for more than ten years. Since starting at Tesla my job responsibilities have consisted of

 4   software development and database administration. Except as otherwise noted, I have personal

 5   knowledge of the following facts and if called to testify could and would testify competently thereto.

 6          2.      As part of its business, Tesla regularly generates and maintains a variety of records

 7   relating to its transactions and communications with customers. Tesla currently maintains such

 8   records in a database called DocGen.

 9          3.      The DocGen system includes copies of customer Motor Vehicle Order Agreement

10   or Motor Vehicle Purchase Agreements (referenced collectively as an “Order Agreement”). When

11   a customer agrees to an Order Agreement with an “Agreement to Arbitrate,” the arbitration

12   agreement provides instructions to the customer about where to send notice if the customer elects

13   to opt out of the arbitration. When Tesla receives a customer notice opting out of an arbitration

14   agreement, a copy of that notice is stored in the DocGen system.

15          4.      The exhibits referenced in and attached to this declaration are records relating to

16   Brenda Broussard, Dominick Battiato, Christopher Mallow, and Jazmin Imaguchi from Tesla’s

17   DocGen database.

18   Overview

19          5.      In general, Tesla customers who want to buy or lease a new or used vehicle from

20   Tesla can start the process by placing an order online through either the desktop or mobile version

21   of Tesla’s website.

22          6.      Tesla provides each customer with an online “Tesla Account” (previously called

23   “My Tesla Account”) that Tesla uses to communicate order updates and product information, and

24   to provide transaction-related documents for customer review and acceptance, among other things.

25   The Tesla Account is automatically created for a customer as part of the order process, although

26   some customers choose to create a Tesla Account before placing their order (e.g., to save their

27   vehicle configuration before ordering).

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 1          7.      To place an order, the customer must either select the vehicle (in the case of a used

 2   vehicle) or configure the vehicle by selecting various options (in the case of a new vehicle), enter

 3   payment details and other information, and click a button to place the order and agree to Tesla’s

 4   terms and conditions.1 These terms and conditions are set forth in an agreement that has been called

 5   either a Motor Vehicle Order Agreement or Motor Vehicle Purchase Agreement at various points

 6   in time, which as mentioned above, are referenced collectively as an “Order Agreement.” At the

 7   time of the order, the customer need only pay the “Order Payment,” with the balance due at or

 8   shortly before the time they take delivery (i.e., possession) of the vehicle.

 9          8.      After customers complete the order process, they receive various documents in their

10   Tesla Account, including a Vehicle Configuration that shows details of the customer’s order and

11   includes a record of when the customer placed the order and accepted the applicable Order

12   Agreement. Customers also receive in their Tesla Account a copy of the Order Agreement and final

13   price sheet.

14          9.      Unlike a traditional car dealership, Tesla customers typically do not take delivery of

15   their vehicles immediately, but instead wait a period of days or weeks while Tesla manufactures,

16   transports, and/or otherwise prepares the vehicle for delivery. Between the initial order and delivery,

17   customers must decide how to pay the balance due on their vehicles and have several options: they

18   can pay their entire final balance by check; they can execute a Lease Agreement; or they may obtain

19   a loan through one of Tesla’s financing partners. One form of loan agreement is the Retail

20   Installment Contract. As specified below, certain Plaintiffs executed either a Lease Agreement or a

21   Retail Installment Contract.

22   Brenda Broussard’s Model Y Order and Delivery

23          10.     Records from DocGen confirm that Brenda Broussard placed an online order for a

24   2022 Model Y on March 13, 2022 and indicate that Brenda Broussard paid an order fee of $250.

25   Attached as Exhibit A is a true and correct copy of the Vehicle Configuration and Order Agreement

26   Brenda Broussard agreed to when she placed her online order.

27

28      1
          The Declaration of Victor Barclay further explains the online purchase process and attaches
     screenshots of the Order Payment screen used to complete an order

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 1          11.     Tesla’s DocGen records do not show that Brenda Broussard mailed to Tesla at the

 2   address provided in her Order Agreement any request to opt out of the Agreement to Arbitrate. If

 3   Brenda Broussard mailed such a request to Tesla, a copy would be stored in Tesla’s DocGen records.

 4   Dominick Battiato’s Model 3 Order and Delivery

 5          12.     Records from DocGen confirm that Dominick Battiato placed an online order for a

 6   2021 Model 3 on June 9, 2021 and indicate that Dominick Battiato paid an order fee of $100.

 7   Attached as Exhibit B is a true and correct copy of the Vehicle Configuration and Order Agreement

 8   Dominick Battiato agreed to when he placed his online order.

 9          13.     Tesla’s DocGen records do not show that Dominick Battiato mailed to Tesla at the

10   address provided in his Order Agreement any request to opt out of the Agreement to Arbitrate. If

11   Dominick Battiato mailed such a request to Tesla, a copy would be stored in Tesla’s DocGen

12   records.

13   Dominick Battiato’s Model Y Order and Delivery

14          14.     Records from DocGen confirm that Dominick Battiato placed an online order for a

15   2022 Model Y on March 11, 2022 and indicate that Dominick Battiato paid an order fee of $250.

16   Attached as Exhibit C is a true and correct copy of the Vehicle Configuration and Order Agreement

17   Dominick Battiato agreed to when he placed his online order.

18          15.     Tesla’s DocGen records do not show that Dominick Battiato mailed to Tesla at the

19   address provided in his Order Agreement any request to opt out of the Agreement to Arbitrate. If

20   Dominick Battiato mailed such a request to Tesla, a copy would be stored in Tesla’s DocGen

21   records.

22   Christopher Mallow’s Model 3 Order and Delivery

23          16.     Records from DocGen confirm that Christopher Mallow placed an online order for a

24   2020 Model 3 on November 4, 2019 and indicate that Christopher Mallow paid an order fee of $100.

25   Attached as Exhibit D is a true and correct copy of the Vehicle Configuration and Order Agreement

26   Christopher Mallow agreed to when he placed his online order.

27          17.     Tesla’s DocGen records do not show that Christopher Mallow mailed to Tesla at the

28   address provided in his Order Agreement any request to opt out of the Agreement to Arbitrate. If


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 1   Christopher Mallow mailed such a request to Tesla, a copy would be stored in Tesla’s DocGen

 2   records.

 3   Jazmin Imaguchi’s Model 3 Order and Delivery

 4          18.     Records from DocGen confirm that an individual named Jazmin Estrada placed an

 5   online order for a 2018 Model 3 on September 4, 2018 and indicate that Jazmin Estrada made an

 6   order payment of $2,500. Attached as Exhibit E is a true and correct copy of the Vehicle

 7   Configuration and Order Agreement Jazmin Estrada agreed to when she placed her online order. I

 8   understand that the Consolidated Complaint alleges that an individual named Jazmin Imaguchi

 9   purchased a 2018 Tesla Model 3, so the discrepancy could be due to Jazmin Estrada’s changing her

10   last name to Imaguchi, the same last name as Ricky Imaguchi, who was listed as another named

11   insured on her auto insurance.

12          19.     Tesla’s DocGen records do not show that any individual named Jazmin Imaguchi or

13   Jazmin Estrada mailed to Tesla at the address provided in her Order Agreement any request to opt

14   out of the Agreement to Arbitrate. If she mailed such a request to Tesla, a copy would be stored in

15   Tesla’s DocGen records.

16
            I declare under penalty of perjury under the laws of the United States of America that this
17
     Declaration is true and correct.
18
            Executed on this 28th day of November 2022 in Hayward, California.
19

20

21                                                       By:
                                                                 Jasjit Ahluwalia
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